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              EXHIBIT A
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From:                              Armstrong, Scott (CRM)
Sent:                              Thursday, July 13, 2023 1:49 PM
To:                                Cordova, Laura
Cc:                                Liolos, John (CRM); Carter III, Thomas (USATXS); Murtha, Michael;
Subject:                           RE: US v. Hennessey - Discovery


                                **RECEIVED FROM EXTERNAL SENDER – USE CAUTION**
We are around

From: Cordova, Laura
Sent: Thursday, July 13, 2023 2:48 PM
To: Armstrong, Scott (CRM)
Cc: Liolos, John (CRM)                         Carter III, Thomas (USATXS)                                  Murtha, Michael
                      ;
Subject: [EXTERNAL] Re: US v. Hennessey ‐ Discovery

Scott,
All emails and attached documents are definitely Jencks. Please let us know your availability to discuss.
Laura

Laura Cordova



        On Jul 13, 2023, at 2:45 PM, Armstrong, Scott (CRM)                                   wrote:


                                **RECEIVED FROM EXTERNAL SENDER – USE CAUTION**
        We believe that we attached all of the relevant exhibits. If you think we are wrong,
        please let us know which emails don’t have attachments by way of example. We are
        not going to chase issues that we don’t believe exist.

        As to your other point, drafts are not Jencks. Feel free to bring it to the Court’s
        attention.

        Thanks,

        Scott

        From: Cordova, Laura
        Sent: Thursday, July 13, 2023 2:43 PM
        To: Armstrong, Scott (CRM)
        Cc: Liolos, John (CRM)                        ; Carter III, Thomas (USATXS)                               ;
        Murtha, Michael                       ;
        Subject: [EXTERNAL] Re: US v. Hennessey ‐ Discovery

        Scott,
                                                             1
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You can identify the emails missing attachments, and please do so. It is your obligation to produce
these, not ours to identify what’s missing for you.
Also, Jencks covers any email, including all attached drafts, by any person who will testify. Every request
below has a solid legal basis, and it’s not appropriate or useful to delay production. Please produce
these so that we don’t have to bother the court with this. We are available and happy to discuss.
Thanks,
Laura

Laura Cordova




        On Jul 13, 2023, at 2:08 PM, Armstrong, Scott (CRM)
        wrote:


                        **RECEIVED FROM EXTERNAL SENDER – USE CAUTION**
        Counsel,

        Please see our responses to your below points:

            1. Please let us know which produced emails you believe do not
                have their attachments, and we can check for you. We tried to
                be as comprehensive as possible in this respect.

            2. We believe this request is without legal authority.

            3. We understand our discovery obligations. No materials will be
                produced at this time.

            4. We understand our discovery obligations. No materials will be
                produced at this time.

            5. We believe this request is without legal authority.

            6. We redacted attorney statements to the extent included in any
                email productions. That is the basis for any redactions. We will
                not be providing a log.

        Thanks,

        Scott
        From: Cordova, Laura
        Sent: Wednesday, July 12, 2023 12:03 PM
        To: Armstrong, Scott (CRM)                                  ; Liolos, John (CRM)
                                ; Carter III, Thomas (USATXS)
        Cc: Murtha, Michael
        Subject: [EXTERNAL] US v. Hennessey ‐ Discovery

        Counsel,

                                                     2
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  On July 10, 2023, we received the government’s production that was supposed to
  include all “Brady material, Giglio material, and witness statements,” which the
  government was required to produce on July 7, 2023. Upon review, it is apparent that
  the production is incomplete. We request immediate production of the following:
      1. All email attachments – regardless of whether the document is directly attached
          or linked to the email;
      2. All drafts of and correspondence regarding the search warrants, indictments,
          expert reports, and any other drafts created or sent by any potential witness;
      3. Grand jury testimony of any witness who may testify;
      4. Grand jury transcripts that includes any Brady or Giglio material, including any
          misstatement of the law or facts, including but not limited to any transcript that
          fails to disclose Mr. Hennessey’s full tweets, including his Twitter disclaimers;
      5. All SEC materials related to each stock listed in the government’s June 15 expert
          disclosure; and
      6. A privilege log for all redactions.

  We are happy to discuss. If you would like to set up a call, please let us know some
  convenient times.

  Best regards,
  Laura


  Laura M. Kidd Cordova




  <image001.png>




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